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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re                                                    )       Chapter 11
                                                         )
WASHINGTON MUTUAL, INC., et al.,1                        )       Case No. 08-12229 (MJW)
                                                         )       Jointly Administered
                             Debtors.                    )
                                                         )       Hearing Date :       Feb. 1, 2012, 10:30 a.m.
                                                         )       Objection Deadline : Jan. 20, 2012, 4:00 p.m.
                                                         )       Related Docket Nos. 9224, 9225

                 MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
               CREDITORS TO ALTER OR AMEND THE COURT’S OPINION AND
                 ORDER REGARDING SUBORDINATION OF THE CLAIM OF
                          TRANQUILITY MASTER FUND, LTD.

                    The Official Committee of Unsecured Creditors (the “Committee”) of Washington

Mutual, Inc., et al. (the “Debtors”), by and through its undersigned counsel, hereby moves this

Court (the “Motion”), pursuant to Rule 59(e) of the Federal Rules of Civil Procedure as made

applicable by Rule 9023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), to alter or amend that portion of the Court’s Opinion and Order (D.I. 9224, 9225) (the

“Opinion” and the “Order,” respectively) in which the Court ruled that the Debtors have not

stated a basis for subordination of the claim asserted by Tranquility Master Fund, Ltd.

(“Tranquility”) in proof of claim number 2206 as amended by proof of claim number 3925 (the

“Claim”). In support of this Motion, the Committee respectfully represents as follows:

                                         PRELIMINARY STATEMENT

                    1.       A motion to alter or amend a judgment under Bankruptcy Rule 9023 is a

request for extraordinary relief, and the Committee does not bring this Motion lightly. The

Committee will not rehash prior arguments. The Opinion and Order must be altered or amended,

1
    The Debtors in these chapter 11 cases along with the last four digits of each Debtor's federal tax identification
    number are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The Debtors' principal
    offices are located at 925 Fourth Avenue, Seattle, Washington 98104.



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however, to correct a clear error of law and prevent manifest injustice to the unsecured creditors

of the Debtors’ estates.

                    2.      With respect to subordination, the Court stated in the Opinion that the

WaMu and WMALT Trusts (the “Trusts”) “issued” the securities purchased by Tranquility (the

“Certificates”) that are the subject of the Claim.2 The Court said: “Neither the Debtors nor their

affiliates are the issuers of the Certificates.” Op. at 20. This ruling, coupled with the Court’s

implicit determination that the phrase “securities of the debtor or an affiliate of the debtor” in

section 510(b) means securities issued by a debtor or its affiliates, id. at 18-20, brings into sharp

focus the question of who exactly is the “issuer” of the Certificates.

                    3.      The statutory and regulatory authorities under which Tranquility brings its

claim provide the answer to this question, and the answer is contrary both to the Court’s Opinion

and to what Tranquility represented in its final brief to the Court.3 With respect to asset-backed

securities such as the Certificates, the “issuer” is the “depositor”, not the issuing Trust. The

statutes are all explicit and clear on this point, as will be discussed below. Securities Act of

1933, § 2(a)(4) (the “Securities Act”), 15 U.S.C. § 77b(2)(a)(4); Securities Exchange Act of

1934 (the “Exchange Act”), § 3(a)(8), 15 U.S.C. § 78c(a)(8); Cal. Corp. Code § 25010(a). The

applicable federal regulations are in accord. Securities and Exchange Commission (“SEC”) Rule

191, 17 C.F.R. § 220.191; SEC Rule 3b-19, 17 C.F.R. § 240.3b-19; SEC Regulation AB, 17

C.F.R. § 229.1101(e) & (f). Here, although the Trusts were “issuing entities,” they were not the

“issuers” of the securities as a matter of law. The “issuers” were the depositors, WaMu Asset

Acceptance Corp. (“WAAC”) and Washington Mutual Mortgage Securities Corp. (“WMMSC”),

2
    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Opinion.
3
    Tranquility Master Fund, Ltd.’s Response to the Official Committee of Unsecured Creditors’ Supplemental Brief
    Objecting To Tranquility’s Amended Proof of Claim (“Tranquility’s Supp. Response”) (D.I. 8265) (filed July 18,
    2011).



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both wholly-owned subsidiaries of Washington Mutual Bank (“WMB”). Accordingly, the

“issuers” of the securities were indeed affiliates of the Debtors. The correction of this error of

law will lead to the proper subordination of Tranquility’s claim.

               4.      Unfortunately, none of the parties clearly and concisely referenced for the

Court these explicit definitional sections of the Securities Act, the Exchange Act, SEC Rule 191,

SEC Rule 3b-19, SEC Regulation AB, or the California Corporations Code. The Committee

regrets that this was not done. Nevertheless, the Third Circuit has said that reconsideration under

Fed. R. Civ. P. 59(e) is “the appropriate means of bringing to the court’s attention manifest errors

of fact or law,” and that it is an abuse of discretion for a court to refuse to consider a new

argument in a motion to alter or amend a judgment when that argument addresses a clear error of

law. Max’s Seafood Cafe ex. Rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 678 (3d Cir. 1999).

               5.      Correction of this error of law will also prevent manifest injustice to

unsecured creditors, by causing the subordination of this securities fraud claim as Congress

intended.

                                  RELEVANT BACKGROUND

               6.      The facts and the procedural history of this dispute are well known to the

Court and will not be repeated here except as relevant to this Motion.

               7.      Tranquility claims to have purchased Certificates from 56 tranches of

securities in 21 separate series. Of these, five of the tranches were registered with the SEC; the

other 51 tranches were unregistered and sold pursuant to private placement memoranda

(“PPMs”). The tranches sold under PPMs were all lower-rated tranches from the same Trusts as

those of the registered tranches. As Tranquility itself noted, “Each PPM attached and

incorporated a Prospectus and a Prospectus Supplement that had been filed with the securities

and Exchange Commission as part of the registration statements for WaMu’s mortgage-backed

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securities. … And each PPM contained numerous terms that were defined in the Prospectus

Supplement.” Tranquility Response to Debtors’ Objection to Proof of Claim No. 2206 (D.I.

3641) (filed May 4, 2010), Ex. 1, ¶ 5. Attached as Exhibit A is a summary (based on existing

exhibits already before the Court) of the 56 tranches, referencing the applicable exhibits

containing the pertinent prospective supplements and PPMs where applicable. In 52 of the 56

tranches, WAAC was the “depositor”; in the remaining four, WMMSC was the “depositor”. See

Ex. A.

                                           JURISDICTION

                    8.    This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). The statutory

predicate for the relief requested herein is Fed. R. Civ. P. 59(e) as made applicable by

Bankruptcy Rule 9023.

                                       RELIEF REQUESTED

                    9.    The Committee seeks to alter or amend that portion of the Court’s Opinion

and Order in which the Court ruled that the Debtors have not stated a basis for subordination of

the Claim. The Committee requests entry of an order finding that WAAC and WMMSC were

the issuers of the Certificates, and that because WAAC and WMMSC were affiliates of the

Debtors under section 101(2)(B) of the Bankruptcy Code, section 510(b) applies to subordinate

the Claim.

                                            ARGUMENT

               A.   STANDARD

                    10.   A motion to alter or amend a judgment may be filed pursuant to

Bankruptcy Rule 9023, which incorporates Fed. R. Civ. P. 59(e). To prevail on a motion to alter

or amend the judgment, the movant must show, in pertinent part: “the need to correct a clear

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error of law or fact or to prevent manifest injustice.” Max’s Seafood, 176 F.3d at 677; see also

Maymi v. Phelps, No. 10-638, 2011 WL 6034480, at *1 (D. Del. Dec. 5, 2011) (same). While a

motion for reconsideration should not be used to rehash arguments that were already argued and

that the Court already decided, In re Edison Bros., Inc., 268 B.R. 409, 412 (Bankr. D. Del.

2001), “reconsideration is the appropriate means of bringing to the court’s attention manifest

errors of fact or law,” Max’s Seafood, 176 F.3d at 678 (holding that district court abused its

discretion when it failed to address clear error of law raised in motion for reconsideration).

               B.   BASIS FOR RELIEF

                    11.     The first applicable federal statute is the “Definitions” section of the

Securities Act. Tranquility brings Count III of its claim under the Securities Act. Section 2(a)(4)

provides, in pertinent part:

                    When used in this title, unless the context otherwise requires--

                    (4) The term “issuer” means every person who issues or proposes to
                    issue any security; except that with respect to . . . collateral-trust
                    certificates, or with respect to certificates of interest . . . , the term
                    “issuer” means the person or persons performing the acts and
                    assuming the duties of depositor or manager pursuant to the
                    provisions of the trust or other agreement or instrument under which
                    such securities are issued . . . .

15 U.S.C. § 77b(2)(a)(4) (emphasis added).

                    12.     This definition applies to control person liability under Section 15 of the

Securities Act, 15 U.S.C. § 77o.

                    13.     Exactly the identical definition appears in the analogous portion of the

Exchange Act. Specifically, Section 3(a)(8) provides, in pertinent part:

                    When used in this title, unless the context otherwise requires--

                    (8) The term “issuer” means every person who issues or proposes to
                    issue any security; except that with respect to . . . collateral-trust
                    certificates, or with respect to certificates of interest . . . , the term

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               “issuer” means the person or persons performing the acts and
               assuming the duties of depositor or manager pursuant to the
               provisions of the trust or other agreement or instrument under which
               such securities are issued . . . .

15 U.S.C. § 78c(3)(a)(8) (emphasis added).

               14.     The applicable federal regulation promulgated under the Securities Act is

SEC Rule 191, which states quite clearly:

               Rule 191 -- Definition of “issuer” in Section 2(a)(4) of the Act in
               Relation to Asset-Backed Securities.

               The following applies with respect to asset-backed securities under the
               Act. Terms used in this section have the same meaning as in Item
               1101 of Regulation AB (Rule 229.1101 of this chapter).

               a. The depositor for the asset-backed securities acting solely in its
                  capacity as depositor to the issuing entity is the “issuer” for
                  purposes of the asset-backed securities of that issuing entity.

17 C.F.R. § 230.191 (emphasis added).

               15.     The applicable federal regulation under the Exchange Act, SEC Rule

3b-19, is substantively identical. (It omits the citation for Regulation AB.)

               Rule 3b-19 -- Definition of "issuer" in Section 3(a)(8) of the Act in
               Relation to Asset-Backed Securities.

               The following applies with respect to asset-backed securities under the
               Act. Terms used in this section have the same meaning as in Item
               1101 of Regulation AB.

               a. The depositor for the asset-backed securities acting solely in its
                  capacity as depositor to the issuing entity is the “issuer” for
                  purposes of the asset-backed securities of that issuing entity.

17 C.F.R. § 240.3b-19 (emphasis added).

               16.     The applicable California statute under which Tranquility brings Counts I

and II of its claim is the California Corporations Code, specifically sections 25504 and 25504.1.

The applicable definition is set forth in Section 25010(a), in words identical to those of both the

Securities Act and the Exchange Act:

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                With respect to . . . collateral-trust certificates, or with respect to
                certificates of interest . . . “ issuer” means the person or persons
                performing the acts and assuming the duties of depositor or
                manager pursuant to the provisions of the trust or other agreement or
                instrument under which the security is issued.

Calif. Corp. Code § 25010(a).

                17.     The statutes and regulations regarding asset-backed securities accordingly

draw a very clear distinction between an “issuer” and an “issuing entity.” The “issuer” is the

“depositor,” and “Depositor means the depositor who receives or purchases and transfers or sells

the pool assets to the issuing entity.” Item 1101 of Regulation AB, 17 C.F.R. § 229.1101(e)

(italics in original). The “issuing entity,” by contrast, “means “the trust or other entity created at

the direction of the sponsor or depositor that owns or holds the pool assets and in whose name

the asset-backed securities supported or serviced by the pool assets are issued”—here, the Trusts.

17 C.F.R. § 229.1101(f). See also Talcott J. Franklin & Thomas F. Nealon III, Mortgage and

Asset Backed Securities Litigation Handbook Appendix A (2011) (stating in definition of

“Depositor” that “the Depositor is considered the statutory issuer of CMBS, although technically

CMBS are issued by the Trust”). Here, WAAC and WMMSC are the “issuers” and the Trusts

are merely passive “issuing entities”.

                18.     The legislative history explains this structure, clarifying that “although the

actual issuer is the trustee, the depositor is the person responsible for the flotation of the issue,”

so “information relative to the depositor and to the basic securities is what chiefly concerns the

investor—information respecting the assets and liabilities of the trust rather than of the trustee.”

H.R. Rep. No. 85, 73 Cong., 1st Sess. 13 (1933). “For these reasons the duty of furnishing this

information is placed upon the actual manager of the trust and not the passive trustee, and this

purpose is accomplished by defining ‘issuer’ as in such instances referring to the depositor or

manager.” Id. This depositor-as-issuer structure was not an accident or anomaly, but rather part

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of a larger legislative and regulatory scheme, as evidenced by the fact that the SEC

simultaneously promulgated Rule 191 and “an identical rule for purposes of the Exchange Act,”

which it codified at 17 C.F.R. § 240.3b-19. Asset-Backed Securities, 70 Fed. Reg. 1506, 1526

n.155 (Jan. 7, 2005); see also id. at 1526 (“We are clarifying that the depositor for the asset-

backed securities, acting solely in its capacity as depositor to the issuing entity, is the ‘issuer’ for

purposes of the asset-backed securities of that issuing entity”).4

                  19.      All of the above authority applies to tranches sold pursuant to PPMs as

well as to tranches that were registered with the SEC. The California Corporate Code, under

which Tranquility pursues its claims under Counts I and II, uses the exact same language as

appears in the Securities Act and the Exchange Act. Furthermore, the PPMs explicitly “attached

and incorporated a Prospectus and a Prospectus Supplement that had been filed with the

Securities and Exchange Commission as part of the registration statements for WaMu’s

mortgage-backed securities,” as Tranquility itself acknowledged.5 These lower-rated tranches

sold under PPMs involved the same “depositor”/ “issuer” as the registered offered certificates,

involved the same “issuing entity” as the registered offered certificates, were issued pursuant to

and are held subject to the same pooling and servicing agreement as the registered offered

securities, were backed by the same pool of mortgage loans as the registered offered certificates,

and were an integral part of the same securitization transaction (their issuance and existence is



4
  In analyzing who is the “issuer” of a security under the Exchange Act, the Seventh Circuit held that it “need not
  look beyond” the definition of “issuer” in that statute even though colorable policy reasons existed for expanding
  that definition. Portnoy v. Kawecki Berylco Indus., Inc., 607 F.2d 765, 767-68 (7th Cir. 1979) (plaintiff did not
  have standing to sue under section 16(b) of Exchange Act because he did not own securities of “issuer” as defined
  by Exchange Act). Given the identical language defining “issuer” in the Securities Act and the Exchange Act, no
  reason exists to believe that the Securities Act’s definition should be treated any less dispositively. And given that
  the California statute uses exactly the same language in defining “issuer,” no reason exists to treat Tranquility’s
  California claims any differently from its federal claim.
5
  Tranquility Response to Debtors’ Objection to Proof of Claim No. 2206 (D.I. 3641) (filed May 4, 2010), Ex. 1, ¶5.



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necessary for the overall securitization transaction structure as they provide the subordination

required for the creation of senior classes and the desired ratings on such senior classes).

                  20.      The Debtors in their argument mistakenly implied that the Trusts – which

the Court held are not affiliates of the Debtors – issued the Certificates that Tranquility

purchased. But in accordance with the law cited above, Tranquility’s own admissions identify

the depositor – WAAC or WMMSC—as the “issuer” of the Certificates that Tranquility

purchased.6 Tranquility also makes much of a statement that Debtors made in a footnote which

was based on an erroneous assumption that the Trusts were the issuers. See Tranquility Supp.

Response at 6. However, Tranquility cannot bypass an error of law by admission or purported

estoppel. What the Debtor erroneously said does not determine what is the law. See In re

SemCrude , L.P., 436 B.R. 317, 322 (Bankr. D. Del. 2010) (citation omitted) (“There is also

support in this Circuit for the principle that ‘judicial admissions are restricted in scope to matters

of fact.... A legal conclusion—e.g., that a party was negligent or caused an injury—does not

qualify [as] a judicial admission’ ”). For instance, what if the Debtor had said in a footnote that

the federal statute of limitations for fraudulent conveyance under section 548 of the Bankruptcy

Code were three years? The erroneous statement would not change the law that the correct

statute of limitations is two years. Nor could the admission justify applying the error as if it were

the law.7


6
  It is undisputed that WAAC and WMMSC were the “depositors” for the securities issuances that form the basis of
  the Claim. See, e.g., WAAC Form S-3 filed February 28, 2005, at ii (identifying WAAC as “depositor” and
  stating that “WAAC, as depositor, will sell the securities, which may be in the form of mortgage pass-through
  certificates, mortgage-backed notes or mortgage trust certificates.”). Tranquility, in its proofs of claim, also
  acknowledges that WAAC is the depositor. See Tranquility Amended Proof of Claim (No. 3925) at 12 (“WaMu
  Asset Acceptance participated in the securitization of the underlying mortgages at issue. In particular, it served as
  the ‘Depositor’ of the certificates . . . .”).
7
  Tranquility’s own proof of claim acknowledges that WAAC was the issuer of the Certificates. Although
  Tranquility’s allegation is not determinative of the law, it is notable that Tranquility’s proof of claim alleges that
  “WaMu Inc. authorized and designed WaMu's strategy to finance WaMu's operations and earn profits from the



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                 21.      In short, the Trusts were not the issuers of the Certificates. Rather,

WAAC and WMMSC, as depositors, were the issuers of the Certificates. The Court has already

determined that WAAC was an affiliate of the Debtors, see Op. at 18, n.4, and WMMSC was as

well. Therefore, the Certificates were issued by “affiliates” of the Debtors, and Tranquility’s

Claim must be subordinated under section 510(b) of the Bankruptcy Code.

                                                   NOTICE

                 22.      Notice of this Motion is being given to: (i) the Office of the United States

Trustee; (ii) counsel to the Debtors; (iii) counsel to Tranquility; (iv) counsel to the Equity

Committee; and (v) parties that have requested service pursuant to Bankruptcy Rule 2002.



                 WHEREFORE, the Committee respectfully requests that the Court (i) alter or

amend that portion of the Opinion and Order in which the Court ruled that the Debtors have not

stated a basis for subordination of the Claim; (ii) enter an order finding that WAAC and

WMMSC, which are both affiliates of the Debtors pursuant to section 101(2)(B) of the

Bankruptcy Code, were the issuers of the securities underlying Tranquility’s Claim, and that

accordingly section 510(b) applies to subordinate the Claim; and (iii) grant the Committee such

other and further relief as the Court deems just, proper and equitable.




  sale of the Certificates, including by . . . causing WaMu Asset Acceptance, which served as the issuer of the
  Certificates, to file, and/or provide, in conjunction with other WaMu entities, materially false and misleading
  Offering Documents to the market and to investors such as Tranquility . . . .” Amended Proof of Claim (No. 3925)
  at 43 (emphasis added). Tranquility also acknowledges that the Certificates were issued through the Trusts, and
  not by the Trusts themselves. Id. at 52.



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Dated:         January 3, 2012
               Wilmington, Delaware   Respectfully submitted,



                                      PEPPER HAMILTON LLP
                                      By: /s/ John H. Schanne, II
                                      David B. Stratton (DE No. 960)
                                      John H. Schanne, II (DE No. 5260)
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                                      Wilmington, DE 19801
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                                      Fax (302) 421-8390

                                      – and –

                                      AKIN GUMP STRAUSS HAUER & FELD LLP

                                      Fred S. Hodara (admitted pro hac vice)
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                                      One Bryant Park
                                      New York, NY 10036
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                                      Attorneys for the Official Committee of Unsecured
                                      Creditors of Washington Mutual, Inc., et al.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re                                               )       Chapter 11
                                                    )
WASHINGTON MUTUAL, INC., et al.,1                   )       Case No. 08-12229 (MJW)
                                                    )       Jointly Administered
                          Debtors.                  )
                                                    )       Hearing Date :       Feb. 1, 2012, 10:30 a.m.
                                                    )       Objection Deadline : Jan. 20, 2012, 4:00 p.m.
                                                    )       Related Docket Nos.: 9224, 9225

               NOTICE OF MOTION OF THE OFFICIAL COMMITTEE
          OF UNSECURED CREDITORS TO ALTER OR AMEND THE COURT’S
         OPINION AND ORDER REGARDING SUBORDINATION OF THE CLAIM
                     OF TRANQUILITY MASTER FUND, LTD.

       PLEASE TAKE NOTICE that counsel to the Official Committee of Unsecured
Creditors (the “Committee”) has filed the attached Motion of the Official Committee of
Unsecured Creditors to Alter or Amend the Court’s Opinion and Order Regarding
Subordination of the Claim of Tranquility Master Fund, Ltd. (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that if you oppose the relief, you are required to
file an objection to the Motion on or before January 20, 2012 at 4:00 p.m. Prevailing Eastern
Time. At the same time, you must also serve a copy of the objection upon the attorneys for
Committee as follows:

               AKIN GUMP STRAUSS HAUER &                  PEPPER HAMILTON LLP
               FELD LLP                                   David B. Stratton, Esq.
               Fred S. Hodara, Esq.                       John H. Schanne, II, Esq.
               Robert A. Johnson, Esq.                    Evelyn J. Meltzer, Esq.
               One Bryant Park                            1313 Market Street, P.O. Box 1709
               New York, NY 10036                         Wilmington, DE 19899-1709

       A hearing on the Motion is scheduled to take place before the Honorable Mary F.
Walrath, United States District Bankruptcy Judge, 5th Floor, Courtroom #4, Wilmington,
Delaware, on February 1, 2012 at 11:30 a.m. Prevailing Eastern Time.




          1
           The Debtors in these chapter 11 cases along with the last four digits of each Debtor's federal tax
identification number are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The Debtors'
principal offices are located at 925 Fourth Avenue, Seattle, Washington 98104.



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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: January 3, 2012                 Respectfully submitted,
       Wilmington, DE
                                       PEPPER HAMILTON LLP


                                       /s/ John H. Schanne, II
                                       David B. Stratton (DE No. 960)
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                                                       Exhibit A
                           Tranches of Securities at Issue in Tranquility POC # 2206

                                                                         REGISTERED          PROSPECTUS
                                                                         OR PRIVATE          SUPPLEMENT                PPM
                    SECURITY                      DEPOSITOR              PLACEMENT            CITATION               CITATION

                                              Washington Mutual
                                              Mortgage Securities
1      WAMU 2005-AR08, Class B11                                      Private Placement     Obj.1, Ex. 2       Tranq. Resp.2, Ex. 2
                                              Corp. (“WMMSC”)

                                              WaMu Asset
                                              Acceptance Corp.
2      WAMU 2005-AR15, Class B13                                      Private Placement     Obj., Ex. 3        Tranq. Resp., Ex. 3
                                              (“WAAC”)

3      WAMU 2006-AR01, Class B13              WAAC                    Private Placement     Obj., Ex. 4        Tranq. Resp., Ex. 4

4      WAMU 2006-AR07, Class B13              WAAC                    Private Placement     Obj., Ex. 5        Tranq. Resp., Ex. 5

5      WAMU 2006-AR07, Class B133             WAAC                    Private Placement     Obj., Ex. 5        Tranq. Resp., Ex. 5

6      WAMU 2006-AR07, Class B14              WAAC                    Private Placement     Obj., Ex. 5        Tranq. Resp., Ex. 5

7      WAMU 2006-AR07, Class B144             WAAC                    Private Placement     Obj., Ex. 5        Tranq. Resp., Ex. 5

8      WAMU 2006-AR09, Class B11              WAAC                    Private Placement     Obj., Ex. 6        Tranq. Resp., Ex. 6

9      WAMU 2006-AR09, Class B12              WAAC                    Private Placement     Obj., Ex. 6        Tranq. Resp., Ex. 6

10     WAMU 2006-AR09, Class B13              WAAC                    Private Placement     Obj., Ex. 6        Tranq. Resp., Ex. 6

11     WAMU 2006-AR09, Class B14              WAAC                    Private Placement     Obj., Ex. 6        Tranq. Resp., Ex. 6

12     WAMU 2006-AR11, Class LB13             WAAC                    Private Placement     Obj., Ex. 7        Tranq. Resp., Ex. 7

13     WAMU 2006-AR11, Class LB14             WAAC                    Private Placement     Obj., Ex. 7        Tranq. Resp., Ex. 7

14     WAMU 2006-AR13, Class B13              WAAC                    Private Placement     Obj., Ex. 8        Tranq. Resp., Ex. 8



              1
                All references to “Obj.” in this Exhibit A refer to the Debtors’ “Objection to Proof of Claim of Tranquility
     Master Fund, Ltd. (Claim No. 2206),”(D.I. 2531) (filed March 10, 2010).
              2
                All references to “Tranq. Resp.” in this Exhibit A refer to Tranquility’s “Response to Debtors’ Objection
     to Proof of Claim No. 2206,”(D.I. 3641) (filed May 4, 2010).
              3
                Tranquility indicated that it purchased this tranche of security twice, both as an initial issue and on the
     secondary market. See “Summary In Support Of Tranquility Master Fund, Ltd’s Proof of Claim” (Claim #2206),
     Ex. 1.
              4
                Tranquility indicated that it purchased this tranche of security twice, both as an initial issue and on the
     secondary market. See “Summary In Support Of Tranquility Master Fund, Ltd’s Proof of Claim” (Claim #2206),
     Ex. 1.

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                                                   OR PRIVATE         SUPPLEMENT           PPM
              SECURITY             DEPOSITOR       PLACEMENT           CITATION          CITATION

15   WAMU 2006-AR13, Class B14   WAAC            Private Placement   Obj., Ex. 8    Tranq. Resp., Ex. 8

16   WAMU 2006-AR15, Class B12   WAAC            Private Placement   Obj., Ex. 9    Tranq. Resp., Ex. 9

17   WAMU 2006-AR15, Class B13   WAAC            Private Placement   Obj., Ex. 9    Tranq. Resp., Ex. 9

18   WAMU 2006-AR15, Class B14   WAAC            Private Placement   Obj., Ex. 9    Tranq. Resp., Ex. 9

19   WAMU 2006-AR17, Class B12   WAAC            Private Placement   Obj., Ex. 10   Tranq. Resp., Ex. 10

20   WAMU 2006-AR17, Class B13   WAAC            Private Placement   Obj., Ex. 10   Tranq. Resp., Ex. 10

21   WAMU 2006-AR17, Class B14   WAAC            Private Placement   Obj., Ex. 10   Tranq. Resp., Ex. 10

22   WAMU 2006-AR19, Class B13   WAAC            Private Placement   Obj., Ex. 11   Tranq. Resp., Ex. 11

23   WAMU 2006-AR19, Class B14   WAAC            Private Placement   Obj., Ex. 11   Tranq. Resp., Ex. 11

24   WAMU 2007-OA01, Class B12   WAAC            Private Placement   Obj., Ex. 12   Tranq. Resp., Ex. 12

25   WAMU 2007-OA01, Class B13   WAAC            Private Placement   Obj., Ex. 12   Tranq. Resp., Ex. 12

26   WAMU 2007-OA01, Class B14   WAAC            Private Placement   Obj., Ex. 12   Tranq. Resp., Ex. 12

27   WAMU 2007-OA02, Class B12   WAAC            Private Placement   Obj., Ex. 13   Tranq. Resp., Ex. 13

28   WAMU 2007-OA02, Class B13   WAAC            Private Placement   Obj., Ex. 13   Tranq. Resp., Ex. 13

29   WAMU 2007-OA02, Class B14   WAAC            Private Placement   Obj., Ex. 13   Tranq. Resp., Ex. 13

30   WAMU 2007-OA05, Class B9    WAAC            Private Placement   Obj., Ex. 14   Tranq. Resp., Ex. 14

31   WAMU 2007-OA05, Class B10   WAAC            Private Placement   Obj., Ex. 14   Tranq. Resp., Ex. 14

32   WAMU 2007-OA05, Class B11   WAAC            Private Placement   Obj., Ex. 14   Tranq. Resp., Ex. 14

33   WMALT 2005-AR1, Class B4    WMMSC           Private Placement   Obj., Ex. 15   Tranq. Resp., Ex. 15

34   WMALT 2005-AR1, Class B5    WMMSC           Private Placement   Obj., Ex. 15   Tranq. Resp., Ex. 15

35   WMALT 2005-AR1, Class B6    WMMSC           Private Placement   Obj., Ex. 15   Tranq. Resp., Ex. 15

36   WMALT 2006-AR1, Class B5    WAAC            Private Placement   Obj., Ex. 16   Tranq. Resp., Ex. 16

37   WMALT 2006-AR1, Class B6    WAAC            Private Placement   Obj., Ex. 16   Tranq. Resp. Ex. 16

38   WMALT 2006-AR2, Class B13   WAAC            Private Placement   Obj., Ex. 17   Tranq. Resp., Ex. 17



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                                                   OR PRIVATE         SUPPLEMENT            PPM
              SECURITY              DEPOSITOR      PLACEMENT           CITATION           CITATION

39   WMALT 2006-AR2, Class B14    WAAC           Private Placement   Obj., Ex. 17   Tranq. Resp., Ex. 17

40   WMALT 2006-AR4, Class B9     WAAC           Registered          Obj., Ex. 18   N/A

41   WMALT 2006-AR4, Class B13    WAAC           Private Placement   Obj., Ex. 18   Tranq. Resp., Ex. 18

42   WMALT 2006-AR4, Class B14    WAAC           Private Placement   Obj., Ex. 18   Tranq. Resp., Ex. 18

43   WMALT 2006-AR5, Class LB13   WAAC           Private Placement   Obj., Ex. 19   Tranq. Resp., Ex. 19

44   WMALT 2006-AR5, Class LB14   WAAC           Private Placement   Obj., Ex. 19   Tranq. Resp., Ex. 19

45   WMALT 2006-AR6, Class B13    WAAC           Private Placement   Obj., Ex. 20   Tranq. Resp., Ex. 20

46   WMALT 2006-AR6, Class B14    WAAC           Private Placement   Obj., Ex. 20   Tranq. Resp., Ex. 20

47   WMALT 2006-AR7, Class B10    WAAC           Registered          Obj., Ex. 21   N/A
48
     WMALT 2006-AR7, Class B11    WAAC           Registered          Obj., Ex. 21   N/A
49
     WMALT 2006-AR7, Class B12    WAAC           Private Placement   Obj., Ex. 21   Tranq. Resp., Ex. 21
50
     WMALT 2006-AR7, Class B13    WAAC           Private Placement   Obj., Ex. 21   Tranq. Resp., Ex. 21
51
     WMALT 2006-AR7, Class B14    WAAC           Private Placement   Obj., Ex. 21   Tranq. Resp., Ex. 21
52
     WMALT 2007-OA2, Class B10    WAAC           Registered          Obj., Ex. 22   N/A
53
     WMALT 2007-OA2, Class B11    WAAC           Registered          Obj., Ex. 22   N/A
54
     WMALT 2007-OA2, Class B12    WAAC           Private Placement   Obj., Ex. 22   Tranq. Resp., Ex. 22
55
     WMALT 2007-OA2, Class B13    WAAC           Private Placement   Obj., Ex. 22   Tranq. Resp., Ex. 22
56
     WMALT 2007-OA2, Class B14    WAAC           Private Placement   Obj., Ex. 22   Tranq. Resp., Ex. 22




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                                   CERTIFICATE OF SERVICE

          I, John H. Schanne, II, hereby certify that on the 3rd day of January, 2012, I did serve the

foregoing by causing a copy of the Motion of the Official Committee of Unsecured Creditors

to Alter or Amend the Court’s Opinion and Order Regarding Subordination of the Claim

of Tranquility Master Fund, Ltd. to be served via United States mail, first class, postage pre-

paid, or as indicated, upon those parties listed on the attached service list.


                                                /s/ John H. Schanne, II
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